               EN EL TRIBUNAL FEDERAL DE PRIMERA INSTANCIA
                      DISTRITO CENTRAL DE TENNESSEE


ESTADOS UNIDOS DE AMtRICA                      )

EN CONTRA DE                                   )
                                               )        No.
    i    ~~~/~ ~rc _s                          )




       Por medio del presente, yo, 41 /1 3 6011;] 14.3                          ,
hago constar que: he leido el documento que antecede, titulado "Notificaci6n
importante al acusado y explicaci6n de derechos y procedimientos" (o que me to han
explicado); entiendo los derechos enumerados en ese documento y se me ha
entregado una copia del mismo.

Firmado en audiencia publica, este dia             de                    de 20d

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                                          Irma del abogado4etensor


                                          Erma aemncionano-jurtaico




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